Case 1:05-cr-100l7-.]DT Document 11 Filed 06/17/05 Page 1 of 2 PagelD 14

|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE

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BUB§;RT R. Dl THOLiO
Piaimirr, CLEP.§<, u.S. DIST CT.
W. D. OF Ti\' JL\CKSON

V. Cr. NO. 05~10017-T/An

UN|TED STATES OF AMERICA,

GEORGE ELV|N ALLRED,

Defendant.

 

ORDER ON ARRA|GN|V|ENT

 

This cause came to be heard on June 17, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and With the
following counse|, who is appointed:

NA|\/lE: Dianne Srnothers
ADDRESS:

TELEPHONE:

The defendant, through counsel, Waived formal arraignment and entered a plea of not
guilty.

A|| motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, being held Without bond pursuant to BRA of 1984, is remanded to the

custody of the U.S. l‘\flarsha|.

S. THOMAS ANDERSON
United States |Vlagistrate Judge

Charges: attempted bank robbery
Assistant U.S. Attorney assigned to case: |vy

Rule 32 Was not Waived.

This document entered on the docket sheet in compliance

With Ru|e 55 and/or 32(b) FRCrP on fit g ~¢£ 1 'l 15

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:05-CR-100]7 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

M. Dianne Smothers

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U.S. ATTORNEY'S OFFICE
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Honorable J ames Todd
US DISTRICT COURT

